          Case 5:09-cv-00406-HE Document 22 Filed 10/06/09 Page 1 of 2



              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

EDWARD FAYE PARKS,                             )
                                               )
                     Plaintiff,                )
vs.                                            )          NO. CIV-09-0406-HE
                                               )
DR. HOLY, and PHYSICIANS’S                     )
NETWORK ASSOCIATION,                           )
                                               )
                     Defendants.               )

                                          ORDER

       Plaintiff Edward Faye Parks, a state prisoner appearing pro se and in forma pauperis,

filed this action under 42 U.S.C. § 1983 alleging a violation of a constitutional right.

Consistent with 28 U.S.C. §636(b)(1)(B) and (C), the matter was referred for initial

proceedings to Magistrate Judge Valerie K. Couch. She has recommended that the plaintiff’s

claims against defendants Holy and Physician’s Network Association be dismissed sua

sponte for failure to state a claim and that his pending motions be denied. She also

recommends that the plaintiff be given the opportunity to amend his complaint to name a

proper defendant with respect to the claim asserted in Count III.

       The plaintiff filed an “amended statement of claim,” but did not file an objection to

the Report and Recommendation. He thereby waived his right to appellate review of the

factual and legal issues it addressed. United States v. One Parcel of Real Property, 73 F.3d

1057, 1059-60 (10th Cir. 1996). See 28 U.S.C. § 636(b)(1)(C); LCvR72.1.

       In his amended complaint, while the plaintiff mentions alleged injuries sustained by

other inmates due to improper medical treatment and his own transfer to GPCF from a

correctional facility in Arizona, he focuses on his head pain, which he claims is due to a head
          Case 5:09-cv-00406-HE Document 22 Filed 10/06/09 Page 2 of 2



injury he sustained in Arizona in 2007. The plaintiff disagrees with the medical treatment

provided by Doctor Holy, but has failed to pleaded a claim against him or anyone else for a

constitutional violation. Therefore, the amended complaint [Doc. #21] is sua sponte

dismissed for failure to state a claim.

       With respect to the plaintiff’s initial complaint, the court adopts Magistrate Judge

Couch’s Report and Recommendation and denies the plaintiff’s motions [Doc. Nos. 9, 11,12,

13, and 16]. His claims against defendants Holy and Physician’s Network Association and

the claims asserted in Counts I and II are dismissed without prejudice. The plaintiff is

granted leave to amend his complaint to name a proper defendant with respect to the claim

asserted in Count III. If an amended complaint is not filed by Thursday, October 22, 2009,

this action will be dismissed.

       IT IS SO ORDERED.

       Dated this 6th day of October, 2009.




                                              2
